            Case 1:07-cv-00004-JL Document 27 Filed 12/10/08 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE




Pheasant Lane Realty Trust

       v.                                                         Civil No. 07-cv-4-JL

Pawsenclaws & Co., LLC et al


                                      JUDGMENT


       In accordance with the December 5, 2008 Order of District Judge Joseph N. Laplante

dismissing the case with prejudice, judgment is hereby entered.



                                               By the Court,


                                               /s/ James R. Starr
                                               James R. Starr, Clerk
December 10, 2008

cc:    William B. Pribis, Esq.
       Jennifer A. O’Brien, Esq.
